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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: 1:18-cv-23320-KMW

  CHRISTOPHER DWECK,

                  Plaintiff,

  vs.

  CITY OF MIAMI SPRINGS, SERGEANT
  ALBERT SANDOVAL, AND UNKNOWN
  CITY OF MIAMI SPRINGS POLICE
  OFFICERS,

                  Defendants.
                                                    /

       DEFENDANT, SERGEANT ALBERT SANDOVAL’S MOTION TO DISMISS
       PLAINTIFF’S COMPLAINT AND SUPPORTING MEMORANDUM OF LAW

            COMES NOW, Defendant, SERGEANT ALBERT SANDOVAL’S (“Sandoval ” or

  “Defendant”), by and through his undersigned attorneys, and pursuant to Federal Rule of

  Civil Procedure 12(b)(6), moves this Honorable Court for the entry of an order dismissing

  the Complaint [DE 1] filed by Plaintiff Christopher Dweck (“Plaintiff”), and as grounds

  states:

  I.        Introduction

            1.    Plaintiff was drug tested following his involvement in a hit and run accident

  while he was on duty. [DE 1] at ¶¶ 10-11.

            2.    Sandoval, as Plaintiff’s “supervising officer... who was already on the scene

  [of the accident],” instructed Plaintiff to return to the City of Miami Springs (“City”) police
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  station to undergo a drug test “immediately” after the accident occurred. Id. at ¶ 13.

         3.     Plaintiff’s employment with the City arose under and was governed by a

  collective bargaining agreement (“CBA”). Id. at ¶ 9, 27.

         4.     Plaintiff has asserted a 42 U.S.C. § 1983 individual liability claim against

  Sandoval (Count II) claiming that he was “deprived of his right to be free from searches and

  seizures by virtue of his forced drug testing” by Sandoval. Id. at ¶ 42.1

         5.     Count II fails to state a valid cause of action.

         6.     Qualified immunity bars Plaintiff’s Count II claim against Sandoval.

  II.    Argument

         A.     No valid 42 U.S.C. § 1983 claim

         Section 1983 permits a civil cause of action for any person deprived of any rights,

  privileges, or immunities secured by the Constitution and other laws by another person acting

  under color of law. This statute “‘is not itself a source of substantive rights,’ but merely

  provides ‘a method for vindicating federal rights elsewhere conferred.’” Albright v. Oliver,

  510 U.S. 266, 271, (1994); see also Whiting v. Traylor, 85 F.3d 581, 583 (11th Cir. 1996)

  (“Section 1983 is no source of substantive federal rights.”) (emphasis added).

         To state a claim under 42 U.S.C. § 1983, a plaintiff must establish: “(1) that the act

  or omission deprived plaintiff of a right, privilege or immunity secured by the Constitution

  or laws of the United States, and (2) that the act or omission was done by a person acting


         1
          Plaintiff also asserted a 42 U.S.C. § 1983 municipal liability claim against the City
  (Count I) and sued the City for declaratory relief (Count IV). The City has simultaneously moved
  to dismiss those claims.
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  under color of law.” Marshall Cty. Bd. of Educ. v. Marshall Cty. Gas Dist., 992 F.2d 1171,

  1174 (11th Cir. 1993) (quoting Bannum, Inc. v. City of Ft. Lauderdale, 901 F.2d 989 (11th

  Cir. 1990)). “The first step in any such claim [under 42 U.S.C. § 1983] is to identify the

  specific constitutional right allegedly infringed.” Albright, 510 U.S. at 271.

  1.     No unlawful search or seizure regarding drug test

         The crux of Plaintiff’s complaint hinges upon Plaintiff’s belief that he was improperly

  subjected to a drug test in the absence of reasonable suspicion after he was struck by a hit and

  run driver in his police car while on duty. [DE 1], generally. The CBA2 specifically provides

  that the City’s Drug Free Workplace Policy - Administrative Order 94-7- was “adopted by

  the City pursuant to the provisions of Chapter 440.102 Florida Statutes and Chapter 38F-9

  of the Florida Administration Code.” See CBA at pg. 66.

         In turn, Fla. Stat. § 440.102, which provides for Florida’s Drug-Free Workplace

  Program requirements, states in relevant part:

         “Reasonable-suspicion drug testing” means drug testing based on a belief that
         an employee is using or has used drugs in violation of the employer's policy
         drawn from specific objective and articulable facts and reasonable inferences
         drawn from those facts in light of experience. Among other things, such facts
         and inferences may be based upon:

         5. Information that an employee has caused, contributed to, or been involved
         in an accident while at work.

         Fla. Stat. § 440.102(n) (emphasis added).

         2
          Plaintiff attaches the CBA to his Complaint. See Exhibit 4 to the Complaint; [DE 1] at ¶
  60. The CBA is therefore part of the Complaint “for all purposes.” Fed.R.Civ.P. 10(c);
  Solis–Ramirez v. U.S. Dep't of Justice, 758 F.2d 1426, 1430 (11th Cir.1985) (per curiam)
  (“Under Rule 10(c) Federal Rules of Civil Procedure, such attachments are considered part of
  the pleadings for all purposes, including a Rule 12(b)(6) motion.”).
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         In Hudson v City of Riviera Beach, 2014 WL 1877412, at *5-6 (S.D. Fla. May 9,

  2014), the plaintiff employee alleged, in part, that the defendant city’s drug policy did not

  contain a definition for “reasonable suspicion” and that he was improperly subjected to a

  drug test. The Court rejected the plaintiff’s arguments and dismissed his 42 U.S.C. § 1983

  claim against the city accordingly. Id. at 6, 14. In dismissing the U.S.C. § 1983 claim, the

  Hudson Court specifically acknowledged that the defendant city’s drug policy was adopted

  pursuant to the provisions of § 440.102, Fla. Stat. and declined to impose § 1983 liability

  against the city on the basis that the policy itself was unconstitutional. Id. at 5-6. The Court

  further concluded that:

         Although Hudson attempts to challenge the policy itself, it is evident that
         Hudson's claims primarily stem from the fact that the individual Defendants
         purportedly did not comply with the drug policy's reasonable-suspicion
         requirement in ordering that Hudson be tested. But Defendants' failure to
         abide by the policy provides no basis for establishing liability against the City,
         as this would amount to nothing more than a respondeat superior theory of
         liability, which the Supreme Court expressly rejected in Monell. Since the
         factual allegations in the Second Amended Complaint fail to show that the
         drug policy itself was unconstitutional, the Court declines to impose liability
         on the City on this basis.

         Sub judice, Plaintiff affirmatively alleges that he was “involved in a hit and run

  accident while he was on duty” and “while on a traffic call accident.” [DE 1] at ¶¶ 10-11.

  The CBA explicitly incorporates the provisions of § 440.102, Fla. Stat., which enumerates

  the notion that reasonable suspicion drug testing may be based on the fact that an employee

  was “involved in an accident while at work.” Fla. Stat. § 440.102(n). As Plaintiff was

  “involved” in an accident while he was on duty, the subsequent drug test that followed as a

  result of the accident (including Sandoval’s instruction to Plaintiff to take the test ) does not
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  constitute an unlawful search or seizure under the Fourth Amendment. Count II should be

  dismissed.

         B.     Qualified immunity bars the 42 U.S.C. § 1983 claim against Sandoval

         Qualified immunity protects government officials who perform discretionary functions

  by shielding them from civil liability as long as the officials' conduct “does not violate

  clearly established statutory or constitutional rights of which a reasonable person would

  have known.” Hudson, 2014 WL 1877412, at *11, citing Harlow v. Fitzgerald, 457 U.S. 800,

  818 (1982). This doctrine protects “all but the plainly incompetent or one who is knowingly

  violating the federal law.” Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir. 2002). It applies

  “regardless of whether the government official's error is a ‘mistake of law, a mistake of fact,

  or a mistake based on mixed questions of law and fact.’” Pearson v. Callahan, 555 U.S. 223,

  231 (2009). Since qualified immunity also endows officials with protection from suit, courts

  must evaluate the validity of the qualified immunity defense “as early in the lawsuit as

  possible.” Lee, 284 F. 3d at 1194.

         To obtain qualified immunity, a defendant must establish that he was acting within

  his discretionary authority when the alleged violation occurred. Oliver v. Fiorino, 586 F.3d

  898, 905 (11th Cir.2009). To determine whether qualified immunity exists, a court must

  evaluate (1) whether a plaintiff has alleged a violation of a constitutional right and (2)

  whether the right at issue was clearly established at the time of the official's conduct. Randall

  v. Scott, 610 F.3d 701, 715 (11th Cir.2010). Further, to determine whether an official was

  performing a discretionary duty, the court must consider two issues: (1) whether the official
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  was performing a legitimate job-related function and (2) whether the official conducted that

  function through means that were within her power to utilize. Holloman ex rel. Holloman v.

  Harland, 370 F.3d 1252, 1265 (11th Cir.2004).

          To determine whether a right was clearly established at the time of the alleged

  violation, the court must consider “whether it would be clear to a reasonable [city official]

  that [her] conduct was unlawful in the situation [she] confronted.” Leslie v. Hancock Cnty.

  Bd. of Educ., 720 F.3d 1338, 1345 (11th Cir.2013); see also Wilson v. Layne, 526 U.S. 603,

  615 (1999) (“This is not to say that an official action is protected by qualified immunity

  unless the very action in question has previously been held unlawful, but it is to say that in

  the light of pre-existing law the unlawfulness must be apparent.”).

          Sub judice, the Complaint affirmatively alleges that Sandoval, as Plaintiff’s

  “supervisor,” “immediately” advised Plaintiff to return to the City’s police station to get drug

  tested as a direct result of the accident Plaintiff was involved in. [DE 1] at ¶¶ 10-11, 13. As

  part of his job-related duties, Sandoval then authored a report regarding the accident. Id. at

  ¶ 44.

          The Complaint does not allege that Sandoval knowingly violating any purported

  constitutional right or that Sandoval sent Plaintiff to get drug tested for any purpose other

  than the fact that he had witnessed Plaintiff’s involvement in an accident while on duty. Id.,

  generally. At all times relevant, the Complaint establishes that Sandoval was legitimately

  acting in accord with his job-related duties. Sandoval is entitled to qualified immunity and

  Count II should be dismissed with prejudice.
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        WHEREFORE, the Defendant, SERGEANT ALBERT SANDOVAL, respectfully

  requests entry of an Order dismissing Count II of the Complaint failed by Plaintiff,

  CHRISTOPHER DWECK, with prejudice, together with such further relief deemed just and

  proper.
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                                CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 12th day of September, 2018, I electronically filed
  the foregoing document with the Clerk of Court by using the CM/ECF system or by email
  to all parties. I further certify that I either mailed the foregoing document and the Notice of
  Electronic Filing by first class mail to any non CM/ECF participants and/or the foregoing
  document was served via transmission of Notice of Electronic Filing generated by CM/ECF
  to any and all active CM/ECF participants.


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